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                Amended Exhibit C to

     Joint Motion to (I) Approve All
       Distributions, Professional
Compensation, and Other Disbursements
  on a Final Basis; (II) Discharge the
  Receiver; (III) Dismiss the Case; and
(IV) Grant Related Relief [ECF No. 87]:

        “Notice of the Joint Motion”
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

BMO Harris Bank, N.A.,                       )
                                             )              Case No. 20-cv-00740
                      Plaintiff,             )
                                             )
v.                                           )
                                             )              Hon. Charles P. Kocoras
KMH Systems, Inc.,                           )
                                             )
                      Defendant.             )
                                             )

     NOTICE OF JOINT MOTION TO (I) APPROVE ALL DISTRIBUTIONS,
 PROFESSIONAL COMPENSATION, AND OTHER DISBURSEMENTS ON A FINAL
      BASIS; (II) DISCHARGE THE RECEIVER; (III) DISMISS THE CASE;
                      AND (IV) GRANT RELATED RELIEF

       PLEASE TAKE NOTICE that, on March 3, 2020, Sandor Jacobson (the “Receiver”)
was appointed by the United States District Court for the Northern District of Illinois (the
“Court”), in the above-captioned case, as the interim receiver for KMH Systems, Inc. (“KMH”),
on the motion of secured creditor BMO Harris Bank N.A. (“BMO”).

        PLEASE TAKE FURTHER NOTICE that, on June 7, 2021, the Receiver and BMO
filed with the Court that certain Joint Motion to (I) Approve All Distributions, Professional
Compensation, and Other Disbursements on a Final Basis; (II) Discharge the Receiver; (III)
Dismiss the Case; and (IV) Grant Related Relief (the “Joint Motion”). A copy of the Joint
Motion may be obtained by contacting counsel for the Receiver at the telephone number or
address indicated below.

        PLEASE TAKE FURTHER NOTICE that an order granting the Joint Motion may,
among other things, (a) terminate any rights or claims against the Receiver; (b) finalize all
disbursements by the Receiver, including the payment of residual receivership funds to BMO; (c)
forever discharge and release the Receiver and his counsel from all further responsibilities in
such roles, with a finding that they have faithfully discharged their duties in the above-captioned
case (the “Receivership Case”); (d) dismiss the Receivership Case without prejudice; and (e)
preserve the effectiveness of all orders and injunctions entered in the Receivership Case, with the
exception of those orders and injunctions contained in the Order Appointing Receiver [ECF No.
17].

        PLEASE TAKE FURTHER NOTICE that the deadline to object to the Joint Motion is
June 14, 2021 (the “Objection Deadline”). If you do not file a written objection to the Joint
Motion on or before the Objection Deadline, then your right to object to the Joint Motion may be
lost forever, and the relief requested in the Joint Motion may be granted by the Court in
chambers, on a permanent basis, without a hearing.

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       PLEASE TAKE FURTHER NOTICE that additional information about the Joint
Motion and the conduct and affairs of the Receiver and the Receivership Case may be obtained
from counsel for the Receiver at the address listed below. Note, however, that counsel for the
Receiver cannot provide you with legal advice.

                                                   SANDOR JACOBSON,
                                                   as receiver for KMH Systems, Inc.

Dated: June 7, 2021                                By: /s/ Adam P. Silverman
                                                           One of his attorneys

ADAM P. SILVERMAN, ESQ. (ARDC #6256676)
ALEXANDER F. BROUGHAM, ESQ. (ARDC #6301515)
ADELMAN & GETTLEMAN, LTD.
53 West Jackson Blvd., Suite 1050
Chicago, Illinois 60604
Tel (312) 435-1050
Fax (312) 435-1059
asilverman@ag-ltd.com
abrougham@ag-ltd.com
Counsel for the Receiver




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